     Case: 1:20-cv-02725 Document #: 56 Filed: 06/22/23 Page 1 of 1 PageID #:329

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Jacqueline Stevens
                                                   Plaintiff,
v.                                                              Case No.: 1:20−cv−02725
                                                                Honorable Mary M.
                                                                Rowland
United States Department of Homeland Security,
et al.
                                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 22, 2023:


       MINUTE entry before the Honorable Mary M. Rowland: Agreed motion to extend
time [55] is granted. Summary Judgment briefing schedule is amended as follows: ICE to
move for summary judgment by July 28, 2023; (2) plaintiff to file her consolidated
response to ICE's motion and memorandum in support of her own motion for summary
judgment by August 25, 2023; (3) ICE to file a consolidated reply in support of its motion
and response to plaintiff's motion by September 15, 2023; and (4) plaintiff to reply in
support of her motion by October 5, 2023. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
